Case: 3:17-cv-02084-JJH Doc #: 20-1 Filed: 01/29/18 1 of 6. PageID&YIJCJU"
                                                                   #: 220
Case: 3:17-cv-02084-JJH Doc #: 20-1 Filed: 01/29/18 2 of 6. PageID #: 221
Case: 3:17-cv-02084-JJH Doc #: 20-1 Filed: 01/29/18 3 of 6. PageID #: 222
Case: 3:17-cv-02084-JJH Doc #: 20-1 Filed: 01/29/18 4 of 6. PageID #: 223
Case: 3:17-cv-02084-JJH Doc #: 20-1 Filed: 01/29/18 5 of 6. PageID #: 224
Case: 3:17-cv-02084-JJH Doc #: 20-1 Filed: 01/29/18 6 of 6. PageID #: 225
